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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )          8:11CR54
          Plaintiff,                       )
                                           )          ORDER
v.                                         )
                                           )
KRISTA SWANSON,                            )
                                           )
             Defendant.                    )



      UPON THE MOTION OF THE DEFENDANT, [168] and no objection from the
government,

      IT IS ORDERED:

      1. The Motion for Continuance of the Plea Hearing [168] is granted.

      2. The Change of Plea hearing is continued to October 31, 2011 at 3:00 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       3. For this defendant, the time between October 7, 2011 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      4. No further continuances will be granted, absent unusual circumstances.

      5. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       6. Since this is a criminal case, the defendant must be present, unless excused
by the Court.

      DATED this 11th day of October, 2011.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
